 

 

BRETT L. TOLMAN, United States Attorney (#8821) ae tetee pAET
CAROL A. DAIN, Assistant United States Attorney (#10065)U->* =
Attorneys for the United States of America I".
185 South State Street, Suite 300 1098 DEC 23 AT
Salt Lake City, Utah 84111-1506 pete ar
Telephone: (801) 524-5682 ..

Facsimile: (801) 524-6924 OM Sep STE

 

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED STATES OF AMERICA,

 

INDICTMENT .
Plaintiff,
vs. : VIO. 18 U.S.C. § 2252A(a)(5)(B),
. Possession of Child Pornography.
PAUL ANDREW MEMMOTT, ents
Defendant. ee
- 2:08- 856
Cae Greene, J. Thomas
ssi :
Assign. Date - 42/23/2008
Description: USA v.
The Grand Jury charges:

COUNT I
(18 U.S.C. § 2252A(a)(5)(B))
(Possession of Child Pornography)
Beginning on a date unknown to the Grand Jury and continuing until at least
November 3, 2008, in the Central Division of the District of Utah,
PAUL ANDREW MEMMOTT,

defendant herein, knowingly possessed computer disks and other materials containing

1

 
 

images of child pornography that were mailed, shipped, and transported in interstate and
foreign commerce by any means, including by computer, and which images were

produced using materials that have been mailed, shipped, and transported in interstate and
foreign commerce by any means, including by computer, and attempted to do so; all in

violation of 18 U.S.C. § 2252A(a)(5)(B).

MIL

AA

UHL

 

 
 

NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

As a result of committing the felony offense alleged in Count I of this Indictment,
which is punishable by imprisonment for more than one year, the above-named defendant
shail forfeit to the United States pursuant to 18 U.S.C. § 2253(a)(3) any and all property
constituting or derived from any proceeds the said defendants obtained directly or
indirectly as a result of the said felony offenses and any and all property, real and
personal, used or intended to be used in any manner or part to commit and to facilitate the
commission of a violation 18 U.S.C. § 2252A and any property traceable thereto,
including but not limited to:
One (1) Generic Black Desktop computer
One (1) Laptop computer

One (1) Kyocera Lingo Cellular phone
One (1) Lexar Universal! Serial Bus (USB) Flash drive

A TRUE BILL:

A

FOREPERSON OF THE GRAND JURY

 

BRETT L. TOLMAN
United States Attorney

AROL A> DAIN
Assistant United States A

 

 
